Case 2:05-cV-02339-.]P|\/|-de Document 8 Filed 08/18/05 Page 1 of 4 Page|D 12

 

Fll.ED BY ,_Qé DC

IN THE UNITED STATES DISTRICT COURT -- ' ~
FOR THE WESTERN DISTRICT oF TENNESSEE

WESTERN DIVISION 05 AUG '8 PH l*’ mt

am u.s. annum

PLAN EXPRESS, INC., W)D OF t tt§";=t-;PH;S
Plailltiff,
v, No. 2:05-Cv-02339-JPM»dkv

JOHN B. FURMAN,

\_/`_d‘~_/\-H\-/\_/\_¢\.J\./

Defendant.

 

JOINT limb SCHEDULING ORDER

 

Pursuant to written notice, a scheduling conference was held August ll, 2005, via
telephone and e-mail. Present were Mary Katherine Hovious, counsel for plaintiff, and Amy M.
Pepke, counsel for defendant At the conference, the following dates were established as the

final dates for:

INITIAL DISCLOSURES PURSUANT to Fed. R. Civ. P. 26(a)(l): August 22, 2005.
JOINING PARTIES: October 25, 2005.
AMENDING PLEADINGS: October 25, 2005.
INTTIAL MOTIONS TO DISMISS: November 25, 2005.
COMPLETING ALL DISCOVERY: February 24, 2006.
(a) DOCUMENT PRODUCTION: February 24, 2006.

(b) DEPOSITIONS, INTERROGATOR[ES AND
REQUESTS FOR ADMISSIONS: February 24, 2006.

Thls document entered on t'ne docket sheet in compliance

with Rule 58 and/or 79(a) FRCP on Y

Case 2:05-cV-02339-.]P|\/|-de Document 8 Filed 08/18/05 Page 2 of 4 Page|D 13

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINT]FF’S

RULE 26 EXPERT INFORMATION: December 23, 2005.
(2) DISCLOSURE oF DEFENDANT’S
RULE 26 EXPERT INFORMA'HON Janualy 23, 2006.
(3) EXPERT wITNEss DEPOSITIONS; Februaiy 24, 2006.
FlLlNG DISPOSITIVE MOTIOst March 24, 2006.
0THER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date, All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or obj ection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for non-jury trial, and the trial is expected to last three (3) days. The
pretrial order date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have not consented to trial before the magistrate judge

Case 2:05-cV-02339-.]P|\/|-de Document 8 Filed 08/18/05 Page 3 of 4 Page|D 14

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

IT IS SO ORDERED.

)/i./a;¢¢ % %/////W>f’

DLAN']§ K. vESCovo
UNITED STATES MAGISTRATE JUDGE

Date: 447/ua /g; F?”JC§_

K:\amp\AMP Cases\F\Funnan\scheduling order.ch

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02339 was distributed by fax, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 3 8103--246

Mary Katherine Hovious

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

l\/lemphis7 TN 38103

John S. Golwen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

